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     Attorneys for Plaintiffs
 7   Jennifer Wyman, Bear Wyman,
     and the Estate of Charles Wyman
 8
 9                            UNITED STATES DISTRICT COURT

10                                     DISTRICT OF NEVADA
11   WESCO INSURANCE COMPANY, as subrogee Case No. 2:16-cv-01206-JCM-EJY
12   of its insured, NICKELS AND DIMES
     INCORPORATED,
13
            Plaintiff,
14
                                                     STIPULATION AND ORDER TO
15   vs.                                            EXTEND TIME TO FILE A JOINT
                                                          PRETRIAL ORDER
16   SMART INDUSTRIES CORPORATION d/b/a                     (Fifth Request)
     SMART INDUSTRIES CORP, MFG, an Iowa
17
     corporation,
18
            Defendants.
19
20
     JENNIFER WYMAN, individually; BEAR CONSOLIDATED WITH
21   WYMAN, a minor, by and through his natural Case No. 2:16-cv-02378-JCM-CWH
     parent    JENNIFER      WYMAN;       JENNIFER
22   WYMAN and KATHRYN D. HARDESTY, as
23   Joint Special Administrators of the ESTATE OF
     CHARLES WYMAN; and SARA RODRIGUEZ,
24   natural parent and guardian ad litem of JACOB
     WYMAN,
25
26          Plaintiffs,

27   vs.
28
 Case 2:16-cv-01206-JCM-EJY Document 353 Filed 12/03/21 Page 2 of 4




 1
     SMART INDUSTRIES CORPORATION, d/b/a
 2   SMART INDUSTRIES CORP., MFG, an Iowa
     corporation, HI-TECH SECURITY INC., a Nevada
 3   corporation;      WILLIAM       ROSEBERRY;
     BOULEVARD VENTURES, LLC, a Nevada
 4
     corporation; DOES I thought V; DOES 1 thought
 5   10; BUSINESS ENTITIES I through V; and ROE
     CORPORATIONS 11 through 20, inclusive,
 6
 7            Defendants.

 8
     HI-TECH SECURITY, INC; and WILLIAM
 9   ROSEBERRY,
10
              Third-Party Plaintiffs,
11
     vs.
12
13   NICKELS AND DIMES INCORPORATED,

14            Third-Party Defendant.
15
16          COMES NOW, Plaintiffs, JENNIFER WYMAN, BEAR WYMAN and THE ESTATE

17   OF CHARLES WYMAN, by and through their attorneys of record, Tracy A. Eglet, Esq. and
18   Brittney R. Glover, Esq. of EGLET ADAMS; Plaintiffs, SARA RODRIGUEZ parent and
19   guardian of JACOB WYMAN, by and through their counsel of record, Cliff W. Marcek, Esq.
20   and Thomas Schwartz, Esq.; SMART INDUSTRIES CORPORATION, by and through its
21   attorney of record, William H. Pruitt, Esq. and Joseph R. Meservy, Esq. of BARRON & PRUITT;
22   and WESCO INSURANCE COMPANY, by and through its attorney of record, Peter Duboswky,
23
     Esq. of DUBOWSKY LAW OFFICE, and hereby agree and stipulate to extend the time to file
24
     the Joint Pretrial Order.
25
            On September 16, 2021, the Honorable Judge James C. Mahan filed a Minute Order
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     stating the parties were to submit a Joint Pretrial Order in compliance with Local Rule 16-4
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     within 30 days. The Joint Pretrial Order was due October 18, 2021. The parties were granted
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 1   four extensions until November 30, 2021, and have agreed to further extend the deadline until
 2   December 21, 2021 with this Court’s permission.
 3          The parties have conducted extensive discovery and there are many documents to review.
 4   In addition, there have been numerous depositions, written discovery and each side has disclosed
 5   expert witnesses. Due to the amount of potential evidence, the parties need another short
 6
     extension to prepare and file the Joint Pretrial Order.
 7
            The parties are circulating drafts for the joint pretrial order and have made additional
 8
     progress since the last extension was granted. However, counsel for Smart tested positive for
 9
     Covid-19. Due to his symptoms and extensive recovery period, counsel for Smart was not able
10
     to circulate the most recent draft of the joint pretrial order until the evening of November 29,
11
     2021. Accordingly, the parties need additional time to review the most recent draft of the joint
12
     pretrial order and collectively communicate in order to mutually agree on the language submitted
13
     in the proposed joint pretrial order. In light of these circumstances, with this Court’s permission,
14
15   the parties have agreed to extend the deadline to December 21, 2021.

16          The parties above request that the court approve of this stipulation and order giving the

17   parties an additional time up to December 21, 2021 to submit the Joint Pretrial Order.

18
19     DATED this 30th day of November, 2021.             DATED this 30th day of November, 2021.

20                                                        /s/ Joseph R. Meservy
       /s/ Cliff W. Marcek                                WILLIAM H. PRUITT, ESQ.
21     CLIFF W. MARCEK, ESQ.                              Nevada Bar No. 6783
       Nevada Bar No. 5061                                JOSEPH R. MESERVY, ESQ.
22     CLIFF W. MARCEK, P.C.                              Nevada Bar No. 14088
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                                                          North Las Vegas, Nevada 89031
24     Attorneys for Plaintiffs                           Attorneys for Defendant
       SARA RODRIQUEZ, parent and guardian                SMART INDUSTRIES CORPORATION
25     Of JACOB WYMAN
26
27
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                                                      3
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     DATED this 30th day of November, 2021.         DATED this 30th day of November, 2021.
 1
 2
     /s/ Brittney R. Glover                         /s/ Peter Dubowsky
 3   TRACY A. EGLET, ESQ.                           PETER DUBOSWKY, ESQ.
     Nevada Bar No. 6419                            Nevada Bar No. 4972
 4   BRITTNEY R. GLOVER, ESQ.                       AMANDA VOGLER-HEATON, ESQ.
     Nevada Bar No. 15412                           Nevada Bar No. 13609
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 6                                                  Las Vegas, Nevada 89101
     Las Vegas, Nevada 89101
 7                                                  Attorneys for WESCO INSURANCE CO.
     Attorneys for Plaintiffs
     JENNIFER WYMAN, BEAR WYMAN; and
 8   ESTATE OF CHARLES WYMAN
 9
10                                            IT IS SO ORDERED
11
                                              _______________________________________
12                                              UNITED STATES MAGISTRATE JUDGE
13                                             Dated: December 3, 2021
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